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                   United States Court of Appeals for the Second Circuit
                           Thurgood Marshall U.S. Courthouse
                                     40 Foley Square
                                   New York, NY 10007

DEBRA ANN LIVINGSTON                                         CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                  CLERK OF COURT

Date: November 30, 2020                                      DC Docket #: 19-cv-6078
Docket #: 20-3855                                            DC Court: SDNY (NEW YORK
Short Title: Bromfield-Thompson v. American University of    CITY)
Antigua                                                      DC Judge: Furman



                            NOTICE OF DEFECTIVE FILING



On November 30, 2020, Form D-P on behalf of the Appellant Debbie Ann Bromfield-
Thompson, was submitted in the above referenced case. The document does not comply with the
FRAP or the Court's Local Rules for the following reason(s):

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______ Failure to file the Record on Appeal (FRAP 10, FRAP 11)
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Inquiries regarding this case may be directed to 212-857-8548.
